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UNITED STATES JUDICIAL PANEL
on
MULTIDISTRICT LITIGATION

IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION MDL No. 3108

TRANSFER ORDER

Before the Panel: Plaintiff in the Western District of Michigan action (Sifuentes) listed
on Schedule A moves under Panel Rule 7.1 to vacate the order that conditionally transferred his
action to MDL No. 3108. Defendant Change Healthcare Inc. opposes the motion.

After considering the argument of counsel, we find that this action involves common
questions of fact with the actions previously transferred to MDL No. 3108, and that transfer under
28 U.S.C. § 1407 will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of the litigation. The actions in the MDL arise from a February 2024 cyberattack
on Change Healthcare’s network, which exposed the private information of millions of individuals
and severely disrupted the ability of physicians, pharmacies, and other healthcare providers to use
Change Healthcare’s digital platform to access insurance information, fill prescriptions, submit
insurance claims, and receive payment for services provided to patients. See In re Change
Healthcare, Inc., Customer Data Sec. Breach Litig., MDL No. 3108, _ F.Supp. 3d_, 2024 US.
Dist. LEXIS 102148 (J.P.M.L. June 7, 2024). Like plaintiffs in the MDL, plaintiff in the Sifuentes
action alleges that his personally identifiable and health insurance information were compromised
in the data breach. The action thus falls squarely within the MDL’s ambit.

Plaintiff raises a series of arguments in opposition to transfer. First, he contends that his
claims under Michigan law may be unique. Even if true, this is not an obstacle to transfer. We
have long held that “Section 1407 does not require a complete identity or even a majority of
common questions of fact to justify transfer, and the presence of additional or differing legal
theories is not significant when . . . the actions arise from a common factual core.” In re Air Crash
over the S. Indian Ocean, on Mar. 8, 2014, 190 F. Supp. 3d 1358, 1359 (J.P.M.L. 2016).

Next, plaintiff contends that Section 1407 does not provide for transfer without the parties’
consent, and that the Panel may not transfer his action over his objection. This is incorrect. The
Panel regularly transfers tag-along actions to MDLs despite one or more parties’ opposition. See
Inre Asbestos & Asbestos Insulation Material Prods. Liab. Litig., 431 F. Supp. 906, 910 (J.P.M.L.
1977) (“In an appropriate situation, the Panel has the power to order transfer in multidistrict
litigation even if all parties are opposed to transfer.”); see also Panel Rule 7.1 (setting out
procedures for the determination of motions to vacate conditional transfer orders when a party
opposes transfer). Plaintiff also argues that the Sixth Amendment and the Supreme Court’s
decision in Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998), bar
transfer because they guarantee his right to participate in the trial of his action in person and in the
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forum of his choosing. Again, plaintiff is mistaken. The Sixth Amendment guarantees certain
rights to criminal defendants and has no application to plaintiff's civil action. Nor does Lexecon
bar transfer. That decision requires that the Sifuentes action be remanded to the Western District
of Michigan for trial if not resolved in the transferee court, but it does not preclude transfer to the
MDL for pretrial proceedings. !

Plaintiff also contends that transfer will cause inefficiency and delay because, having
established personal jurisdiction over Change Healthcare in the Western District of Michigan, he
will be required to establish personal jurisdiction anew in the District of Minnesota. But as we
have explained, “‘[flollowing a transfer, the transferee judge has all the jurisdiction and powers
over pretrial proceedings in the actions transferred to him that the transferor judge would have had
in the absence of transfer.’” Jn re Delta Dental Antitrust Litigation, 509 F. Supp. 3d 1377, 1379
(J.P.M.L. 2020) (citing In re FMC Corp. Patent Litig., 422 F. Supp. 1163, 1165 (J.P.M.L. 1976)).
There is no need for plaintiff to establish personal jurisdiction over Change Healthcare in the
transferee court.

Finally, plaintiff argues that transfer will cause him inconvenience and additional cost, and
that he will “lose control” over litigation of his action. Plaintiff's concern appears to rest on the
belief that he will be required to participate in person in proceedings in the transferee court, but as
“Section 1407 transfer is for pretrial proceedings only, there is usually no need for the parties and
witnesses to travel to the transferee district for depositions or otherwise.” In re Cygnus
Telecomm’ns Tech., LLC, Patent Litig., 177 F. Supp. 2d 1375, 1376 (J.P.M.L. 2001). In any event,
in determining whether transfer is appropriate, we look to “the overall convenience of the parties
and witnesses, not just those of a single plaintiff or defendant in isolation.” In re Watson Fentanyl
Patch Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1351-52 (J.P.M.L. 2012).

1 Plaintiff also suggests that Michigan’s law requiring that all parties consent to the recording of
conversations poses an obstacle to transfer. See MICH. Comp. LAWS § 750.539c. This statute
applies to the recording of “private conversation[s],” and is not applicable to court proceedings.
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IT IS THEREFORE ORDERED that the action listed on Schedule A is transferred to the
District of Minnesota and, with the consent of that court, assigned to the Honorable Donovan W.
Frank for inclusion in the coordinated or consolidated pretrial proceedings.

PANEL ON MULTIDISTRICT LITIGATION

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Karen K. Caldwell
Chair

Nathaniel M. Gorton Matthew F. Kennelly
David C. Norton Roger T. Benitez
Dale A. Kimball Madeline Cox Arleo
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IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION MDL No. 3108

SCHEDULE A

Western District of Michigan

SIFUENTES v. CHANGE HEALTHCARE, C.A. No. 1:24—-00850
